
PER CURIAM.
By petition for a writ of certiorari we have for review an order of the Florida Industrial Commission, now Industrial Relations Commission.
We conclude from our consideration of the petition, record and briefs, and after having heard oral argument, that the order of the Commission must be quashed on authority of the decision of this Court in Brown v. Griffin, 229 So.2d 225 (Fla.1969), and the cause remanded with directions that the matter be returned to the Judge of Industrial Claims for further findings of fact on the evidence already taken, in compliance with our opinions in Brown v. Griffin, supra, and Hardy v. City of Tarpon Springs, 81 So.2d 503 (Fla.1955).
The petition for attorneys fees filed by respondent is hereby denied.
It is so ordered.
ERVIN, C. J., and DREW, THORNAL, CARLTON, ADKINS and BOYD, JJ., concur.
